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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION                                               ENTERED
                                                                                               08/28/2015
IN RE:                                          §
                                                §
Milton R. Cutler                                §       CASE NO. 15-31634
                                                §
                                                §       Chapter 11
Debtor                                          §

                     AMENDED AGREED ORDER REGARDING
                 DEBTOR’S EXEMPTION IN HOMESTEAD PROPERTY
                                     (Docket No. 31)
       Upon review and consideration of the Stipulation Regarding Objection to Claimed

Exemptions filed jointly in this case by the Debtor and creditor Business Loan Center, LLC

(“BLC”), the Court finds and concludes that, with respect to the real property located at 4822

Linden, Bellaire, Texas 77401 (the “Property”):

              The Debtor purchased the Property fewer than 1215 days prior to the Petition
               Date, and no proceeds from the sale of the Debtor’s previous principal residence
               were applied toward the purchase of the Property.

              The Debtor applied $221,350 in non-exempt funds (the “Downpayment”) to
               purchase the Property.

              Bankruptcy Code § 522(p) limits the value of the Debtor’s exemption in the
               Property to a monetized exemption of $155,675.

              The Downpayment exceeds the exemption limit by $65,675.

       The Court therefore, ORDERS that:

              Equity in the Property up to $155,675 is exempt, pursuant to Bankruptcy Code §
               522(p);

              Equity in the Property in excess of $155,675 up to $221,350, if any, is not
               exempt;

              Equity in the Property in excess of $221,350, if any, is exempt, as such equity
               represents appreciation in the value of the Property which is not subject to the
               limitations of Bankruptcy Code § 522(p).



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  Signed: August
      SIGNED this28, 2015.
                  ____ day of August 2015.

                                         ____________________________________
                                         DAVID R. JONES
                                       _____________________________________
                                         UNITED
                                       DAVID     STATES BANKRUPTCY JUDGE
                                              R. JONES
                                       UNITED STATES BANKRUPTCY JUDGE

APPROVED:

                                                SPECTOR & JOHNSON, PLLC
                                                by: /s/ Nathan M. Johnson
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